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               Exhibit 3
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               17 NOV LUIS PACHECO: “SI NO HUBIÉSEMOS
               DEMANDADO LOS BONISTAS HABRÍAN
               HECHO UNA FIESTA Y TOMADO CITGO”
               Aunque hay opiniones encontradas acerca del litigio del bono PDVSA 2020, para
               Luis Pacheco, quien todavía espera su reemplazo como Presidente de la junta
               administradora ad hoc de Petróleos de Venezuela, S.A., siempre se ha intentado
               una negociación con los acreedores. Sin embargo, la in exibilidad de los bonistas
               los condujo a seguir el camino del juicio. Aunque hay apertura para buscar
               acuerdos, hay condiciones impuestas por el Poder Legislativo que se deben
               respetar.


               Por Alejandro Hernández, La Gran Aldea: https://lagranaldea.com/2020/11/16/si-no-
               hubiesemos-demandado-los-bonistas-habrian-hecho-una- esta-y-tomado-citgo/#


               Su amplia trayectoria en la industria petrolera ha sido el aval de Luis Pacheco, por
               lo que muchos aplaudieron su designación como Presidente de la junta
               administradora ad hoc de Petróleos de Venezuela, S.A. (PDVSA) y luego lamentaron
               que presentara su renuncia a este cargo. Desde su perspectiva asegura que si el 27
               de octubre de 2019 no se hubiese demandado en el caso del bono PDVSA 2020, los
               tenedores de esos papales “habrían hecho una esta y tomado control de Citgo”.
               Sostiene que se intentó una negociación directa con los bonistas, pero se hizo
               evidente que no aceptarían una alternativa distinta a la amortización en los plazos
               establecidos. A rma que Citgo está sobre endeudada y su estructura                                    nanciera no
               le permite tomar más deuda Además comenta que lo peor es que muchas veces
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               le permite tomar más deuda. Además, comenta que lo peor es que muchas veces
               los ataques que reciben en la junta ad hoc “provienen de fuego amigo; y eso,
               aunque espero que la historia lo enderece, es muy frustrante”.


               -¿Sigue siendo Presidente de la junta administradora ad hoc de PDVSA?


               -Estoy esperando, desde junio, que la Asamblea Nacional decida mi reemplazo.


               -¿Por qué renunció?


               -Es tiempo de un cambio de mando, y yo necesito espacio para dedicarme a temas
               personales.


               -¿Y quién es su interlocutor en el Gobierno interino?


               -El Centro de Gobierno y la Comisión de Energía y Petróleo de la Asamblea Nacional.


               -¿Qué lectura hace del reciente pronunciamiento de la Corte de Nueva York
               sobre el litigio del bono PDVSA 2020?


               -La sentencia no ha salido, lo que hubo fue una opinión de la jueza que lleva el
               caso, pero tal como nuestros abogados piensan, esa opinión, aunque es negativa
               para nosotros, tiene su cientes aristas para justi car una apelación exitosa.


               -¿Cómo será ese proceso de apelación?


               -En este momento lo que prosigue es que la jueza les dé a los demandados la
               oportunidad de proponer un borrador de sentencia, para que luego nosotros
               podamos contrarrestarlo; y basado en esos dos documentos redactar la sentencia.
               Después de la decisión de la Corte, en caso de que la decisión no sea a favor de la
               República, tenemos 30 días para presentar una apelación.


               -¿La decisión de apelar si el fallo es en contra de la República ya está tomada?


               -Sí, así se hará, porque es lo correcto y lo que corresponde.


               -Hay voces que después de esta opinión emitida por la jueza Katherine Polk han
               insistido con más fuerza en que la estrategia con los bonistas debió ser negociar
               y no ir a juicio, ¿cuál es su opinión hoy?


                Por supuesto que no estoy de acuerdo con eso en un mundo de leyes las cortes
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               -Por supuesto que no estoy de acuerdo con eso, en un mundo de leyes las cortes
               están para que uno de enda sus derechos y la obligación de PDVSA era respaldar lo
               que la Asamblea Nacional, único órgano legítimamente electo en Venezuela,
               dictaminó; y eso es que la operación del bono PDVSA 2020 es ilegal por incluir
               a Citgo como colateral sin aprobación del Parlamento. Por otro lado, desde el
               primer día nuestros abogados han tenido contacto con los acreedores o sus
               representantes para buscar un acuerdo, pero ellos han sido in exibles o no han
               recibido esas aperturas con su ciente generosidad, por eso tuvimos que seguir el
               camino del litigio, que no habría sido necesario si del otro lado hubiesen estado
               dispuestos a negociar. Sin embargo, aún durante el juicio han seguido
               las conversaciones con los tenedores y sus abogados, pero lamentablemente no
               han aceptado sentarse bajo unos términos que reconozcan las condiciones que
               el Poder Legislativo ha impuesto.


               -¿Cuáles son esas condiciones?


               -Nuestra intención ha sido siempre lograr una negociación con los acreedores que
               se reconozca tres factores; el primero, que la operación ha sido declarada inválida
               por una resolución de la Asamblea Nacional; el segundo, que el precio de
               mercado de esa deuda, para ese momento de la demanda, rondaba el 20% y hoy
               está alrededor del 50%; y el tercero es que se debe reconocer la crisis
               humanitaria de Venezuela y posponer las fechas de pago. Por supuesto que mediar
               entre esto y las aspiraciones de los bonistas, que es el pago completo de la deuda,
               ha sido muy difícil, existen unas limitaciones que nunca han estado dispuestos a
               aceptar.


               -¿Por eso la demanda fue la única salida?


               -En octubre de 2019 PDVSA decide hacer una negociación directa con los bonistas,
               en lugar de con sus representantes o abogados, porque nuestra intención
               era resolver el problema. Ahí les decimos que quedan pocos días para el
               segundo pago de intereses y que ni PDVSA ni Citgo tienen los 900 millones de
               dólares que correspondía pagar el 27 de ese mes, por lo que les pedimos un plazo
               de tres meses para buscar una solución, en ese momento hubo dos o tres
               discusiones más y quedó claro que los acreedores no aceptarían una alternativa
               distinta a una amortización el día que estaba establecido. Aquí hay que recordar
               que cualquier ofrecimiento que pusiera PDVSA en la mesa, debía ser aprobado por
               la Asamblea Nacional, y dado el escándalo político injusti cado que se originó por
               la cancelación de los intereses de abril, era lógico presumir que autorizar un pago
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                por 400, 500 o 900 millones de dólares iba a ser cuesta arriba, además de que no
                los teníamos.


                -¿En ese momento solicitaron al gobierno estadounidense suspender la Licencia
                General 5?


                -Claro, cuando esto ocurrió le noti camos al gobierno estadounidense que iba a ser
                imposible llegar a un acuerdo con los bonistas, y le pedimos que suspendieran
                la Licencia General 5 para que los acreedores no pudieran tomar control de Citgo.
                Los norteamericanos aceptaron nuestra solicitud y hacen que nos comprometamos
                a introducir la demanda de nulidad contra los tenedores. En esos mismos días, el 15
                de octubre, el Parlamento retomó el tema, rati có la nulidad de la operación y nos
                reitera la orden de defender los activos de Venezuela en el exterior. Razón por la cual
                yo hice dos reuniones con la Junta ad hoc y los directores decidieron por
                unanimidad entrar en litigio.


                -¿Por qué si la Junta votó de forma unánime, después el economista Alejandro
                Grisanti escribe una carta al presidente interino Juan Guaidó para expresar su
                desacuerdo con la decisión de ir a juicio?


                -Hay que preguntárselo a él. Las decisiones de la Junta ad hoc de PDVSA se toman
                por mayoría, y todas las que se ejecutaron en el año 2019 tuvieron respaldo
                unánime de los directores.


                -¿Para usted la resolución de la Asamblea Nacional del 27 de septiembre de 2016
                negó categóricamente la legalidad del bono PDVSA 2020?


                -Yo no soy abogado y tampoco estoy aquí para juzgar a la Asamblea Nacional,
                porque PDVSA no tiene la atribución para señalar lo que el Poder Legislativo debe
                o no debe hacer. Aprovecho para decirte que cuando algunos voceros señalan que
                nunca antes PDVSA había tenido que ir al Parlamento a pedir permiso, hay que
                responderles que nunca antes PDVSA tomó una deuda donde pusiera
                como garantía a un activo de la nación. Esta es la única vez en toda la historia de
                nuestra estatal petrolera donde tal cosa ha ocurrido.


                -En una entrevista reciente el economista Francisco Rodríguez nos señaló que
                no es cierto que la única opción en octubre de 2019 era demandar; y menciona
                un ofrecimiento de préstamo que, según la agencia Reuters, hizo el fondo T.
                Rowe Price de 913 millones de dólares y además detalla unos estados
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               Rowe Price de 913 millones de dólares y, además, detalla unos estados
                 nancieros de Citgo, que a su juicio permitían cubrir la obligación con los
               bonistas.


               -Yo te puedo decir con toda certeza que la Junta ad hoc de PDVSA no ha recibido
               ninguna oferta formal de nanciamiento de nadie. Por otro lado, lo que el señor
               Rodríguez dice de Citgo es una opinión no informada, porque la realidad
                 nanciera de esa empresa es totalmente diferente a lo que él dijo y eso lo
               reportamos a la nación el pasado 5 de agosto en nuestra rendición de cuentas ante
               la Asamblea Nacional. Pero digo que es una opinión no informada, porque una cosa
               es que la compañía tenga en sus estados                       nancieros un dinero y otra que pueda
               utilizarlo para nes diferentes a los establecidos originalmente. Citgo está sobre
               endeudada y su estructura                 nanciera no le permite tomar más deuda. Las
               personas que representan a los tenedores no deberían hablar de soluciones sin
               tomar en cuenta la viabilidad de las mismas.


               -¿Por qué Citgo está sobre endeudada?


               -Porque el régimen de Maduro empezó a sacar fondos de ella, desde que
               empezaron los problemas                 nancieros de la República, es decir, del año 2015 en
               adelante. De hecho, el bono 2020 es parte de esa estructura de extracción de
               riqueza a PDVSA y Citgo. Esas deudas existen y menoscabaron la capacidad de la
               compañía de levantar más recursos para pagarles a los bonistas. Usar a Citgo para
               pagar el PDVSA 2020 signi caba dos cosas, una, prácticamente declarar
               en default todos los compromisos propios de la empresa; y dos, repetir la mala
               práctica que veníamos criticando de tomar deuda mala para pagar otra deuda mala.


               -¿Es viable todavía un acuerdo con los bonistas?


               -Siempre. Siempre los acuerdos son viables mientras que tomen en cuenta los
               factores que nos limitan o nos condicionan: Resoluciones de la Asamblea Nacional,
               el precio de la deuda en el mercado, y la crisis humanitaria de Venezuela.


               -¿Estamos mejor o peor hoy que el 27 de octubre de 2019, cuando se introdujo la
               demanda?


               -Si no hubiésemos demandado el 27 de octubre de 2019 los bonistas habrían hecho
               una esta y tomado control de Citgo. La estrategia que se ha ejecutado ha
               permitido darles oxígeno a dos cosas: La primera, una negociación más justa y
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               equitativa; y la segunda, a que se materialice el cambio político que hasta ahora no
               se ha podido lograr. Entonces, ante la pregunta de si estamos mejor o peor, yo te
               respondo que aún tenemos Citgo y eso es mejor que haberla perdido.


               -Si usted asegura que han conversado antes y durante la demanda, e incluso
               dice que aún es viable un acuerdo con los bonistas, entonces, ¿por qué hay
               voceros que insisten en que no han negociado?


               -Por la misma razón que hay gente que aún opina que la tierra es plana. Están mal
               informados.


               -Es mucho lo que se ha dicho del alcance del lobby de los bonistas, ¿ha recibido
               usted algún tipo de presión para ejecutar una determinada decisión en el caso
               del PDVSA 2020?


               -La junta de PDVSA nunca ha recibido presiones para pagar o no pagar, lo que
               hemos hecho es seguir las decisiones que la Asamblea Nacional ha tomado. Pero el
               asunto del lobby no es un tema menor, los acreedores tienen un músculo muy
               importante para cabildear en Estados Unidos y del lado de nosotros hay un país
               cuya situación social y política hace difícil la toma de decisiones. Eso hace que
               la negociación sea muy compleja. Por puro cálculo político de corto plazo nos
               olvidamos de que estamos tratando de enderezar los entuertos que nos dejaron los
               gobiernos de Hugo Chávez y Nicolás Maduro; a veces la propia dirigencia no deja
               trabajar por pequeñeces que no van a ningún lado.


               -¿Qué tan atada estaba la estrategia de la defensa de activos en el exterior al
               llamado “cese de la usurpación”?


               -Las decisiones se tomaron en un contexto donde se pensaba que el cambio
               político llegaría en poco tiempo. Una de las premisas en mi mente era que con el
               “cese de la usurpación” íbamos a tener una posición mucho más fuerte a la hora
               de negociar cualquiera de las deudas.


               -¿Qué pasará después del 5 de enero de 2021 con los juicios?


               -Mientras el Gobierno interino sea reconocido por el Poder Ejecutivo de Estados
               Unidos, mantendremos el control de los juicios.


               -¿Cómo está el ánimo en la Junta ad hoc de PDVSA en este momento?

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               -La junta ad hoc de PDVSA está constituida por personas que han decidido aportar
               su tiempo y conocimiento por nada a cambio, excepto la satisfacción
               de contribuir con la reconstrucción del país y muchos de ellos, después de un
               tiempo, se han preguntado si ese sacri cio vale la pena dada la pequeñez de
               las discusiones políticas que todavía hay sin que el objetivo principal se haya
               resuelto, que es devolver la democracia a Venezuela. Son distintos los precios que
               se han tenido que pagar: Familiares, económicos, persecuciones y calumnias. Lo
               peor es que muchas veces los ataques que recibimos provienen de fuego amigo; y
               eso, aunque espero que la historia lo enderece, es muy frustrante.


               Embajada de Venezuela en US




               TAGS: Bonos 2020, CITGO, Luis Pacheco, PDVSA, venezuela




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